

Matter of People ex rel. Sajetta  v Maginley-Liddie (2025 NY Slip Op 01721)





Matter of People ex rel. Sajetta  v Maginley-Liddie


2025 NY Slip Op 01721


Decided on March 20, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 20, 2025

Before: Manzanet-Daniels, J.P., Kern, Kapnick, González, Scarpulla, JJ. 


Index No. 100578/24|Appeal No. 3950|Case No. 2024-06119|

[*1]In the Matter of the People of the State of New York ex rel. Anjelu Sajetta, Petitioner-Appellant,
vLynelle Maginley-Liddie etc., et al., Respondents-Respondents. 


Anjelu Sajetta, appellant pro se.
Alvin L. Bragg, Jr., District Attorney, New York (Brent E. Yarnell of counsel), for respondents.



Judgment (denominated an order), Supreme Court, New York County (Maxwell Wiley, J.), entered on or about July 17, 2024, denying the petition for a writ of habeas corpus, unanimously affirmed, without costs.
The writ of habeas corpus was properly denied (see CPLR 7010). Habeas relief is
not available to remedy petitioner's claims (see People ex rel. Latta v Morgenthau, 73 AD3d 593 [1st Dept 2010], lv denied 15 NY3d 707 [2010]; People ex rel. Mena v Brennan, 223 AD2d 513 [1st Dept 1996]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 20, 2025








